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                             UNITED STATES DISTRICT COURT FOR THE
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

DEQUENTIN WEBBER,                              )
                                               )
                Plaintiff,                     )
                                               )
v.                                             )     Case No: 18-CV-04681
                                               )
THE RECEIVABLE MANAGEMENT                      )
SERVICE CORPORATION,                           )
                                               )
                Defendant.                     )

                                DEFENDANT’S MOTION TO DISMISS

       Defendant The Receivable Management Services LLC f/k/a The Receivable

Management Services Corporation (“RMS”), by counsel, respectfully submits this Motion to

Dismiss Plaintiff’s Complaint pursuant to Fed. R. Civ. P. 12(b)(6).

                                        INTRODUCTION

       After Plaintiff Dequentin Webber (“Plaintiff”) failed to pay amounts due and owing

to State Auto Insurance Co. (“State Auto”), his account was assigned to RMS for collection.

RMS sent Plaintiff a letter explaining that a sum of $58.56 was still owed to State Auto.

(Compl., Ex. B.) Despite the plain language of the letter, Plaintiff now alleges the letter failed

to identify the current creditor. But even an unsophisticated consumer would clearly

understand that the statement that State Auto “has reviewed their policy records which

indicates that an outstanding amount is still owed to them” clearly identifies to whom the

debt is owed.

       The letter also included a number of state-specific disclosures required under the

laws of state jurisdictions that have separately legislated debt collection practices. Plaintiff

alleges that the unsophisticated consumer could be misled to believe that the
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Massachusetts state-specific disclosure applies to him, a claim the Seventh Circuit has

already dismissed as “fantastic conjecture.” White v. Goodman, 200 F.3d 1016, 1020 (7th

Cir. 2000). And finally, Plaintiff alleges that when, in the course of a telephone call, he

informed RMS he was represented by counsel, RMS discontinued the call before he could

provide his counsel’s contact information, which he now alleges amounts to an “unfair

collection practice” under Section 1692f of the FDCPA. But only in Plaintiff’s topsy-turvy

world could doing what is required by the FDCPA—ceasing further contact with Plaintiff

(under Section 1692c(a)(2))—be alleged to be an unfair practice under Section 1692f. It is

as brazen of a claim as it is meritless. Each of Plaintiff’s claims fail and should be dismissed

with prejudice.

                                      THE ALLEGATIONS

       Plaintiff incurred and later defaulted on an auto insurance bill with State Auto and

the account was placed with RMS for collection. (Compl., ¶¶ 10-12.) RMS sent Plaintiff a

letter (“Letter”) which noted the amount owed, provided a claim amount and claim

number, and explained, among other things, that State Auto “has reviewed their policy

records which indicates that an outstanding amount is still owed to them.” (Compl., Ex. B.)

The Letter also stated that there was additional “important information” on the reverse

side. (Id.) The reverse side of the Letter explained that RMS “is required under state law to

give you the following notices,” but that the list “does not contain a complete list of the

rights which consumers or commercial businesses have under state and federal law.” The

Letter then stated that the following notices “apply in the specified states,” and listed state

specific notices for California, Colorado, and Massachusetts. (Id.) Under the Massachusetts-

specific notice, the following language appears:



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                              NOTICE OF IMPORTANT RIGHTS

       YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUEST THAT
       TELEPHONE CALLS REGARDING YOUR DEBT NOT BE MADE TO YOU AT
       YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID
       FOR ONLY TEN DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF
       THE REQUEST POSTMARKED OR DELIVERED WITHIN SEVEN DAYS OF
       SUCH REQUEST. YOU MAY TERMINATE THIS REQUEST BY WRITING TO THE
       DEBT COLLECTOR.

(Id.) (the “Massachusetts Disclosure.”)

       Plaintiff also alleges that RMS contacted him by telephone on June 28, 2018, that

Plaintiff informed RMS he was represented by counsel, and that RMS disconnected the call

without taking down Plaintiff’s attorney’s name and address.

       Based on these allegations, Plaintiff alleges RMS violated Sections 1692g(a)(2),

1692e, and 1692f of the FDCPA. Specifically, Plaintiff alleges that RMS violated Section

1692g(a)(2) because the letter purportedly did not identify the “current creditor” to whom

the debt is owed. (Compl. ¶19.) Plaintiff alleges RMS violated various section of § 1692e by

including the Massachusetts Disclosure because “the unsophisticated consumer could be

misled to believe that the Massachusetts Disclosure applies to all consumers, not just

Massachusetts residents,” and that the Disclosure is a “misstatement of federal law”

because it states a consumer “must provide a written confirmation to invoke his right not

to be contacted at his place of employment.” (Compl. ¶¶27-32.) Lastly, Plaintiff alleges that

RMS violated Section 1692f of the FDCPA because, when it was told by Plaintiff he was

represented by counsel, it discontinued the call and did not take Plaintiff’s attorney’s name

and address, thereby purportedly “preventing” Plaintiff “from exercising his right to be




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represented by an attorney.” (Compl. ¶¶38, 40, 42.) Each of these claims fails and Plaintiff’s

Complaint should be dismissed with prejudice.

                                          ARGUMENT

       Rule 12(b)(6) motions test the legal sufficiency of a complaint. Hallinan v. Fraternal

Order of Police of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). To survive a Rule 12

(b)(6) motion to dismiss, a complaint must set forth enough facts to state a claim that is

plausible on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially

plausible when its factual content “allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Twombly, 550 U.S. at 555. “Nor does a complaint

suffice if it tenders naked assertions devoid of further factual enhancement.” Iqbal, 556 U.S.

at 678. With this heightened pleading standard, a complaint must do more than set forth

“labels and conclusions.” Id; Tamayo v. Blagojevich, 526 F.3d 1074, 1084 (7th Cir. 2008)

(allegations in the complaint must “actually suggest that the plaintiff has a right to relief, by

providing allegations that raise a right to relief above a speculative level”) (emphasis in

original.)

I.     Plaintiff’s Claim Under Section 1692g(a)(2) Fails Because the Letter Discloses
       the Name of the Creditor.

       The primary purpose of the FDCPA is to “eliminate abusive debt collection practices

by debt collectors.” 15 U.S.C. § 1692e. In assessing Plaintiff’s FDCPA claim the Court must

view the claims through the eyes of the “unsophisticated consumer.” See Fields v. Wilber

Law Firm, P.C., 383 F.3d 562, 564 (7th Cir. 2004). The Court must assume that the

unsophisticated consumer may be “uninformed, naïve, or trusting, but is not a dimwit, has


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rudimentary knowledge about the financial world and is capable of making logical

deductions and inferences.” Lox v. CDA, Lt., 689 F.3d 818, 822 (7th Cir. 2012). The

unsophisticated consumer is presumed to be “wise enough to read collection notices with

added care, [and] possesses reasonable intelligence, and is capable of making basic logical

deductions and inferences.” Pantoja v. Portfolio Recovery Assocs., LLC, 852 F.3d 679, 686

(7th Cir. 2017). In other words, courts ask “whether a person of modest education and

limited commercial savvy would be likely to be deceived” by the collection letter. McMahon

v. LVNV Funding, LLC, 744 F.3d 1010, 1019 (7th Cir. 2014) (citation omitted).

       The unsophisticated consumer standard is an objective one, and the Court must not

entertain any bizarre, peculiar or idiosyncratic interpretations of collection letters. See

Durkin v. Equifax Check Serv., Inc., 406 F.3d 410, 414 (7th Cir. 2005). And statements or

representations in a dunning letter cannot be deemed “confusing or misleading unless a

significant fraction of the population would be similarly misled.” Pettit v. Retrieval Masters

Creditors Bureau, Inc., 211 F.3d 1057, 1060 (7th Cir. 2000). In other words, courts ask

“whether a person of modest education and limited commercial savvy would be likely to be

deceived” by the collection letter. McMahon v. LVNV Funding, LLC, 744 F.3d 1010, 1019 (7th

Cir. 2014) (citation omitted).

       Plaintiff’s FDCPA claims are meritless and typify the kind of objectively

unreasonable interpretation of collection letters that courts have routinely rejected.

Section 1692g(a)(2) requires that “within five days after the initial communication with a

consumer in connection with the collection of any debt,” the debt collector provide written

notice of “the name of the creditor to whom the debt is owed.” 15 U.S.C. 1692g(a)(2). That

is precisely what the Letter did. The Letter states it is from RMS, but in the very first



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sentence identifies State Auto as the creditor by explaining that State Auto “has reviewed

their policy records which indicates that an outstanding amount is still owed to them.”

(Compl., Ex. B.) (emphasis added.)1 The creditor is the one “to whom the debt is owed.” 15

U.S.C. 1692g(a)(2). The Letter clearly and conspicuously explains that the debt is “still

owed to” State Auto, thus satisfying the FDCPA. See Chuway v. Nat’l Action Financial

Services, Inc., 362 F.3d 944, 948 (7th Cir. 2004) (To satisfy § 1692g(a), the debt collector's

notice must state the required information “clearly enough that the recipient is likely to

understand it.”)

        This is not the case where there are various confusing references to multiple non-

creditor entities within a letter (Deschaine v. Nat’l Enter. Sys. Inc., 2013 WL 12121197, at *1

(N.D. Ill. Oct. 20, 2011)), or where the name of the creditor is hidden within the letter, but

without saying the creditor is actually owed the debt (Janetos v. Fulton, Friedman & Gullace,

825 F.3d 317, 321-22 (7th Cir. 2016).) The Letter clearly identifies “to whom” the debt is

owed and no fraction, much less a significant fraction, of even the most unsophisticated

consumers, possessing “reasonable intelligence,” Pantoja 852 F.3d at 686, would fail to

understand that the debt is owed to State Auto. See Zuniga v. Asset Recovery Solutions, 2018

WL 1519162, at *4 (N.D. Ill. Mar. 28, 2018) (dismissing claim under 1692g(a)(2) because

there were “no confusingly named non-creditors sprinkled about the letter to muddy the

waters, and no opaque technical terms,” and the letter clearly identified “to whom” the debt

was owed). Indeed, courts expect the unsophisticated consumer to read a collection letter



1 The Letter appears to contain a typographical error in the name of the creditor. State Auto Insurance Co. is
listed as “State Auto Insurance Co 1s.” The addition of “1s” to the name of the creditor obviously does not
obscure who the creditor is or would otherwise preclude the unsophisticated consumer from knowing to
whom the debt is owed, and thus the error is immaterial to Plaintiff’s claims.



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literally, but not interpret it bizarrely or idiosyncratically. Gruber v. Creditors’ Prot. Serv.,

Inc., 742 F. 3d 271, 274 (7th Cir. 2014).

           While sometimes a question of fact, dismissal under Rule 12(b)(6) is appropriate

where—like here—it is “apparent from a reading of the letter that not even a significant

fraction of the population would be misled by it.” Zemeckis v. Glob. Credit & Collection Corp.,

679 F.3d 632, 636 (7th Cir. 2012); Boucher v. Fin. Sys. Of Green Bay, Inc., 880 F.3d 362, 366

(7th Cir. 2018) (If the representations in question “plainly, on their face, are not misleading

or deceptive,” the Court may dismiss the case based on its own determination without

looking at extrinsic evidence). Plaintiff’s claim under Section 1692g should be dismissed.

II.        Plaintiff’s Claim Under Section 1692e Fails Because There Was No Threat Or
           False Representation.

           Plaintiff also claims that by including the Massachusetts Disclosure, RMS misled him

to believe that it “applies to all consumers, not just Massachusetts residents,” and that the

Disclosure is a misstatement of federal law. (Compl. ¶26-27, 32.) Plaintiff claims RMS

violated Section 1692e of the FDCPA by including it. Plaintiff’s claim fails.

           Many states have enacted laws related to debt collection that co-exist alongside the

FDCPA. Several states—including Massachusetts—require that debt collectors include a

state-specific disclosure when communicating with consumers.2 Indeed, it would be

perverse and wholly beyond the intent of the FDCPA to conclude it is a violation of federal

law to include a disclosure mandated by state law. And the FDCPA explicitly states that it

“does not annul, alter, or affect, or exempt any person . . . from complying with the law of

any [s]tate with respect to debt collection practices, except to the extent that those laws are



2   See, e.g., 209 Mass. Code Regs. 18:14(1)e.



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inconsistent with [the FDCPA].” 15 U.S.C. §1692n. So it is not surprising that the Seventh

Circuit, along with the vast majority of other courts that have addressed the inclusion of

state-specific notices, have found that such notices do not violate the FDCPA because they

would not mislead or deceive the unsophisticated consumer. See, e.g., White v. Goodman,

200 F.3d 1016, 1020 (7th Cir. 2000) (affirming dismissal of identical claim under the

FDCPA). In White, the Seventh Circuit dismissed the contrary notion as “fantastic

conjecture,” noting that:

       [I]t is unlikely, to say the least, that recipients of such letters, unless they
       happen to be class action lawyers specializing in consumer finance litigation,
       have any idea of what specific federal or state rights they might have; so they
       have no benchmark against which to compare the rights that Colorado law
       confers. And far from implying that Coloradans have superior rights, the
       paragraph by its opening sentence makes clear that Colorado merely
       requires that the debt collector furnish Colorado residents with the specific
       information. The implication is not that such residents have more rights than
       residents of other states, but, at most, that they are less sophisticated and
       therefore need more information about their rights. Realistically, the only
       reaction of a Colorado nonresident to the paragraph would be that it had
       nothing to do with him.

       Any document can be misread. The Act is not violated by a dunning letter
       that is susceptible of an ingenious misreading, for then every dunning letter
       would violate it. The Act protects the unsophisticated debtor, but not the
       irrational one.

Id. (Posner, J.) See also Pimentel v. Nationwide Credit, Inc., 2017 WL 5633310, at *4 (S.D. Fla.

Nov. 13, 2017) (granting motion to dismiss identical claim); Jackson v. Immediate Credit

Recovery, Inc., 2006 WL 3453180, at *4 (E.D.N.Y. Nov. 28, 2016) (same); Velez v. Continental

Service Group, Inc., 2018 WL 1621625 (M.D. Pa. Apr. 4, 2018) (same); Krieger v. Financial

Recovery Svcs., Inc., No. 16-cv-1132 (E.D.N.Y. July 7, 2016)(same).

       In Krieger, Plaintiff argued, like Webber here, that because of its uppercase and

prominent lettering, the unsophisticated consumer might think the Massachusetts



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Disclosure applies to all consumers, and that the Disclosure is contrary to federal law

because it appears to narrow the protection afforded consumers by the FDCPA. Id. at 5-6.

The court disagreed, explaining that the Disclosure is included in a list of state-specific

disclosures and is preceded—like the Disclosure in this case—by the statement that the list

does not contain a complete list of the rights consumers have under state or federal law. Id.

(concluding that “not even the least sophisticated consumer could have been misled by the

inclusion of the Massachusetts Notification”).

       Plaintiff’s argument that including the Massachusetts Disclosure is false or

misleading should be rejected. First, contrary to Plaintiff’s conclusory allegations, the

Disclosure is formatted in such a way that it is clear it is one of the state-specific disclosures

and applies to Massachusetts residents. And the Disclosure is preceded by the statement

that RMS is “required under state law to give you the following notices.” (Compl., Ex. B.)

The allegation that including the Disclosure is confusing or misleading is precisely the kind

of unreasonable interpretation based on “fantastic conjecture” that the Seventh Circuit has

routinely rejected.

       And to the extent Plaintiff argues that the Disclosure violates the FDCPA because it

is contrary to, or appears to limit, the rights he has under federal law—that argument has

already been rejected by other courts that have addressed it. See Roudebush v. Collecto, Inc.,

2004 WL 3316168, at *5 (S.D. Ind. Nov. 12, 2004); Krieger, infra. Under the FDCPA, a debt

collector cannot contact debtors at work if the debt collector “knows or has reason to

know” that the employer prohibits such contact. 15 U.S.C. §1692c(a)(3). The Massachusetts

Disclosure goes further by granting the Massachusetts consumer the right to refuse calls at

work for any reason—regardless of whether or not such contact is prohibited by the



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employer. See Roudebush, 2004 WL 3316168, at *5 (explaining that the FDCPA “only

protects those employees whose employers do not allow such calls” and the Massachusetts

Disclosure grants additional rights to Massachusetts consumers not provided for in the

FDCPA).3 So Plaintiff’s allegation that including the Massachusetts Disclosure misleads the

unsophisticated consumer into thinking he has fewer rights than enjoyed under federal law

is simply not true.

          In order for the unsophisticated consumer to come to the conclusion that the

Massachusetts Disclosure applies to residents of states other than Massachusetts, he would

have to make a number of implausible and unreasonable inferences and conclusions—the

very kind of idiosyncratic interpretation the standard is designed to guard against. See

Muha v. Encore Receivable Management, Inc., 558 F.3d 623, 629 (7th Cir. 2009) (explaining

that “false, deceptive or misleading” under Sections 1692e and 1692f should be interpreted

as language that is “confusing” to the reader and therefore has an intimidating effect);

Evory v. RJM Acquisitions Funding, L.L.C., 505 F.3d 769, 766 (7th Cir. 2007) (if “there [is]

nothing deceptive-seeming about the communication the court would have to dismiss the

case”).

III.      Plaintiff Fails to Allege a Cognizable Claim Under Section 1692f.

          Lastly, Plaintiff alleges that RMS violated Section 1692f of the FDCPA when, after

being informed Plaintiff was represented by counsel, an RMS agent “disconnected the call.”

(Compl. ¶40.) Plaintiff implausibly alleges that RMS discontinued the call in order to

“preserve its right to continue contacting Plaintiff directly,” thereby “preventing [him] from



3And state laws that provide consumers additional protections beyond the FDCPA are not inconsistent
with—and thus not preempted by—the FDCPA. 15 U.S.C. §1692n.



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exercising his right to be represented by an attorney.” (Compl. ¶¶41-42.) But there is no

allegation that RMS had any further contact with Plaintiff at all, and thus the allegations as

pleaded fully support that RMS did precisely what the FDCPA requires—cease further

communication with the Plaintiff. The allegations simply do not support any inference or

conclusion that Plaintiff was “prevented” from invoking any of the protections afforded by

the FDCPA.

       Section 1692c(a)(2) of the FDCPA provides that “a debt collector may not

communicate with the consumer in connection with the collection of any debt . . . (2) if the

debt collector knows the consumer is represented by an attorney with respect to such debt

and has knowledge of, or can readily ascertain, such attorney’s name and address.” But

Plaintiff does not assert any violation of this Section. Rather, Plaintiff pleads that RMS fully

complied with this provision because after he told RMS that he was represented by counsel,

RMS ceased further communication with him. Certainly at that point, RMS both knew of the

existence of counsel and could have readily ascertained such attorney’s name and address.

In other words, if RMS had continued to contact Plaintiff after Plaintiff told RMS he was

represented by counsel, Plaintiff would likely have a claim under 1692c(a)(2) because at

that point RMS surely could have “readily ascertained” such attorney’s name and address.

But no such claim exists because there was no further contact, so instead Plaintiff must go

and invent a claim elsewhere. But Plaintiff’s attempt to convert compliance with the “no

further contact” provision into some kind of unfair collection practice, while creative, must

fail. There is simply no allegation that Plaintiff did not actually enjoy the protection this

very provision provides—the right not to be further contacted. Plaintiff’s allegations are




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thus illusory; he was not prevented from exercising any right and in fact exercised the very

right the FDCPA affords. Plaintiff’s claim must be dismissed.

                                         CONCLUSION

       Courts are empowered to serve as effective gatekeepers in determining whether a

significant proportion of the population would be misled by a collection letter. This is

especially critical where, as here, the Plaintiff requests the Court to interpret a letter in a

bizarre and idiosyncratic fashion. Here, because Plaintiff cannot establish that the letter

would mislead or threaten a significant fraction of the population, Defendant The

Receivable Management Services LLC respectfully requests that this Court grant its Motion

to Dismiss Plaintiff’s Complaint, with prejudice, and award it any further relief that the

court deems just and necessary.

                                                     Respectfully submitted,

                                                     RECEIVABLE MANAGEMENT SERVICES
                                                     LLC

                                                     By: /s/ Matthew O. Stromquist__
                                                            One of its Attorneys

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                                   CERTIFICATE OF SERVICE

       Matthew O. Stromquist, an attorney, certifies that on August 27, 2018, he
electronically filed the foregoing with the Clerk of the Court by using the CM/ECF system,
which will send a notice of electronic filing to all electronic filing participants.



                                                  _/s/ Matthew O. Stromquist ______




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